Jeremy C. Lieb
Erik Grafe
Ian S. Dooley
Carole A. Holley
EARTHJUSTICE
441 W 5th Avenue, Suite 301
Anchorage, AK 99501                         Eric P. Jorgensen
T: 907.277.2500                             EARTHJUSTICE
E: jlieb@earthjustice.org                   325 Fourth Street
E: egrafe@earthjustice.org                  Juneau, AK 99801
E: idooley@earthjustice.org                 T: 907.586.2751
E: cholley@earthjustice.org                 E: ejorgensen@earthjustice.org

Attorneys for Plaintiffs Center for Biological Diversity, Defenders of Wildlife,
Friends of the Earth, and Greenpeace, Inc.

Kristen Monsell (pro hac vice)
CENTER FOR BIOLOGICAL
DIVERSITY
1212 Broadway, St. #800
Oakland, CA 94612
T: 510.844.7100
E: kmonsell@biologicaldiversity.org

Attorneys for Plaintiff Center for Biological Diversity

Cecilia Segal (pro hac vice)                Michelle Wu (pro hac vice)
NATURAL RESOURCES DEFENSE                   NATURAL RESOURCES DEFENSE
COUNCIL                                     COUNCIL
111 Sutter St., 21st floor                  40 West 20th St., 11th Floor
San Francisco, CA 94104                     New York, NY 10011
T: 415.875.6100                             T: 646.889.1489
E: csegal@nrdc.org                          E: michellewu@nrdc.org

Attorneys for Plaintiff Natural Resources Defense Council




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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

CENTER FOR BIOLOGICAL DIVERSITY et al.,      )
                                             )
        Plaintiffs,                          )
          v.                                 )   Case No. 3:23-cv-00061-SLG
                                             )
BUREAU OF LAND MANAGEMENT et al.,            )
                                             )
        Defendants,                          )
                                             )
CONOCOPHILLIPS ALASKA, INC. et al.,          )
                                             )
        Intervenor-Defendants.               )

           AMENDED CERTIFICATE OF SERVICE RE: DOC. 182




      Case 3:23-cv-00061-SLG Document 183 Filed 11/08/23 Page 2 of 5
       Plaintiffs Center for Biological Diversity et al. filed their RESPONSE TO

INTERVENOR-DEFENDANT CONOCOPHILLIPS ALASKA, INC.’S NOTICE OF

SUPPLEMENTAL AUTHORITY on November 6, 2023 (Doc. 182). The certificate of

service for the filing indicated that service on Tarek Farag was completed on that same

day. The correct date of service is November 8, 2020, and the certificate of service is

amended to read as follows:

                              CERTIFICATE OF SERVICE

       I hereby certify that on November 6, 2023, a copy of foregoing PLAINTIFFS’

RESPONSE TO INTERVENOR-DEFENDANT CONOCOPHILLIPS ALASKA, INC.’S

NOTICE OF SUPPLEMENTAL AUTHORITY was served electronically through the

CM/ECF system on the following counsel of record: Paul A. Turcke, Rickey Doyle

Turner, Jr., Ryan P. Steen, Whitney A. Brown, Jason T Morgan, Stacey M. Bosshardt,

Eric B. Fjelstad, Melinda Meade Meyers, Tyson C. Kade, Charlene Koski, Jonathan

David Simon, Charles A. Cacciola, Brooks W. Chandler, Mary Hunter Gramling, and

Jonathan W. Katchen.

       I further certify that on November 8, 2023, Tarek Farag,

tarekfaragusa@hotmail.com, was served by electronic mail.


                       s/ Erik Grafe
                       Erik Grafe




CBD et al. v. BLM et al.,
Case No. 3:23-cv-00061-SLG                                                          1

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       Respectfully submitted this 8th day of November, 2023.

                        s/ Erik Grafe
                        Erik Grafe (Alaska Bar No. 0804010)
                        Jeremy C. Lieb (Alaska Bar No. 1810088)
                        Ian S. Dooley (Alaska Bar No. 2006059)
                        Carole A. Holley (Alaska Bar No. 0611076)
                        Eric P. Jorgensen (Alaska Bar No. 8904010)
                        EARTHJUSTICE

                        Attorneys for Plaintiffs Center for Biological Diversity,
                        Defenders of Wildlife, Friends of the Earth, and
                        Greenpeace, Inc.

                        s/ Kristen Monsell
                        Kristen Monsell (California Bar No. 304793) (pro hac vice)
                        CENTER FOR BIOLOGICAL DIVERSITY

                        Attorneys for Plaintiff Center for Biological Diversity

                        s/ Cecilia Segal
                        Cecilia Segal (California Bar No. 310935) (pro hac vice)
                        Michelle Wu (New York Bar No. 5633664) (pro hac vice)
                        NATURAL RESOURCES DEFENSE COUNCIL

                        Attorneys for Plaintiff Natural Resources Defense Council




CBD et al. v. BLM et al.,
Case No. 3:23-cv-00061-SLG                                                           2

         Case 3:23-cv-00061-SLG Document 183 Filed 11/08/23 Page 4 of 5
                              CERTIFICATE OF SERVICE

       I hereby certify that on November 8, 2023, a copy of foregoing AMENDED

CERTIFICATE OF SERVICE RE: DOC. 182 was served electronically through the

CM/ECF system on the following counsel of record: Paul A. Turcke, Rickey Doyle

Turner, Jr., Ryan P. Steen, Whitney A. Brown, Jason T Morgan, Stacey M. Bosshardt,

Eric B. Fjelstad, Melinda Meade Meyers, Tyson C. Kade, Charlene Koski, Jonathan

David Simon, Charles A. Cacciola, Brooks W. Chandler, Mary Hunter Gramling, and

Jonathan W. Katchen.

       I further certify that Tarek Farag, tarekfaragusa@hotmail.com, was served by

electronic mail.


                       s/ Erik Grafe
                       Erik Grafe




CBD et al. v. BLM et al.,
Case No. 3:23-cv-00061-SLG                                                       3

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